Case 1:20-cv-11807-TSH Document 281~Filed 03/14/22 Page 1 of 18
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS WE

RASMUSSEN INSTRUMENTS, LLC,
Plaintiff,

v.

A. . 1:20-CV- -
DEPUY SYNTHES PRODUCTS, INC., C.A. No. 1:20-CV-11807-TSH

DEPUY SYNTHES SALES, INC., AND JURY TRIAL DEMANDED
MEDICAL DEVICE BUSINESS
SERVICES, INC.,

Defendants.

 

 

JURY VERDICT FORM

In answering the following questions and filling out this Verdict Form, you are to follow
all of the instructions I have given you in the Court’s charge. Your answer to each question must
be unanimous. Some of the questions contain legal terms that are defined and explained in detail
in the Jury Instructions. Please refer to the Jury Instructions if you are unsure about the meaning
or usage of any legal term that appears in the questions below.

In this Verdict Form:
“Rasmussen” refers to Plaintiff Rasmussen Instruments, LLC.

“DePuy” refers collectively to Defendants DePuy Synthes Products, Inc., DePuy Synthes Sales,
Inc., and Medical Device Business Services, Inc.

“The °180 Patent” refers to U.S. Patent No. 9,492,180. The Asserted Claims for the ?180 Patent
are Claims 6, 9, 13, and 18.

“The °583 Patent” refers to U.S. Patent No. 10,517,583. The Asserted Claims for the ’583 Patent
are Claims 1, 3, 7, and 12.
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INFRINGEMENT — BALANCED SIZER

1. Has Rasmussen proven by a preponderance of the evidence that DePuy’s Balanced Sizer
directly infringed any of the following Patent Claims?

Please check the boxes that reflect your verdict.

(“Yes” finds for Rasmussen, “No” finds for DePuy)

 

a) 7180 Patent
Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)

 

180 Patent, Claim 6

xl

 

 

 

 

 

 

 

 

 

 

 

 

(dependent from Claim 1) (Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 9) Claim 9)
’180 Patent, Claim 9 [ ]
(Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 13) Claim 13)
180 Patent, Claim 13 | [|
(Cependent i 9) (Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 18) Claim 18)
’180 Patent, Claim 18 NZ [ ]
(dependent from Claim 15) (Proceed to °583 Patent, | (Proceed to ’583 Patent,
Claim 1) Claim 1)
b) °583 Patent
Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)
°583 Patent, Claim 1 [J
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 3) Claim 3)
°583 Patent, Claim 3
(dependent from U bx)
Claims 1 and 2) (Proceed to 583 Patent, (Proceed to 583 Patent,
Claim 7) Claim 7)
°583 Patent, Claim 7 [ ] «|
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 12) Claim 12)
583 Patent, Claim 12 []

 

 

 

 

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2. With respect to the Balanced Sizer, has Rasmussen proven by a preponderance of the
evidence that DePuy contributed to the infringement by others of any of the following Patent

Claims?
Please check the boxes that reflect your verdict.

(“Yes” finds for Rasmussen, “No” finds for DePuy)

 

 

a) °180 Patent
Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)
°180 Patent, Claim 6 []
(dependent from Claim 1) (Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 9) Claim 9)

 

180 Patent, Claim 9

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Claim 13) Claim 13)
"180 Patent, Claim 13 CJ
(cebendent a) (Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 18) Claim 18)
’180 Patent, Claim 18 M1 [|
(dependent from Claim 15) , ,
(Proceed to °583 Patent, (Proceed to ’583 Patent,
Claim 1) Claim 1)
b) 7583 Patent
Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)
’583 Patent, Claim 1 [ ] x
(Proceed to ’583 Patent, (Proceed to 583 Patent,
Claim 3) Claim 3)
’583 Patent, Claim 3 J YX
(cepende and 2) (Proceed to 583 Patent, (Proceed to 583 Patent,
Claim 7) Claim 7)
’583 Patent, Claim 7 [| NC
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 12) Claim 12)
°583 Patent, Claim 12 [|

 

 

 

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3. With respect to the Balanced Sizer, has Rasmussen proven by a preponderance of the
evidence that DePuy induced the infringement by others of any of the following Patent Claims?

Please check the boxes that reflect your verdict.

(“Yes” finds for Rasmussen, “No” finds for DePuy)

a) 7180 Patent

 

 

(dependent from Claim 1)

(Proceed to ’180 Patent,
Claim 9)

Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)
?180 Patent, Claim 6 NX [ ]

(Proceed to ’180 Patent,
Claim 9)

 

180 Patent, Claim 9

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(Proceed to ’180 Patent,

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(Proceed to °180 Patent,

 

 

 

 

 

 

 

Claim 13) Claim 13)
"180 Patent, Claim 13 Nx] [ ]
Clete 9 and 19) (Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 18) Claim 18)
°180 Patent, Claim 18 x [ ]
(dependent from Claim 15) (Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 1) Claim 1)
b) 7583 Patent
Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)

 

*583 Patent, Claim 1

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(Proceed to ’583 Patent,

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(Proceed to °583 Patent,

 

 

 

 

 

 

Claim 3) Claim 3)
583 Patent, Claim 3 ‘| NL
Claus Land 2) (Proceed to ’583 Patent, (Proceed to °583 Patent,
Claim 7) Claim 7)
’583 Patent, Claim 7 [| |
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 12) Claim 12)
°583 Patent, Claim 12 [ ] 4

 

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4, With respect to the Balanced Sizer, has Rasmussen proven by a preponderance of the
evidence that DePuy supplies or causes to be supplied in or from the United States all or a
substantial portion of the components of a patented invention, where such components are
uncombined in whole or in part, in such manner as to actively induce the combination of such
components outside of the United States in a manner that would infringe the patent if such
combination occurred within the United States?

Please check the boxes that reflect your verdict.
(“Yes” finds for Rasmussen, “No” finds for DePuy)

a) 7180 Patent

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)
°180 Patent, Claim 6 kK]
(dependent from Claim 1) (Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 9) Claim 9)
’180 Patent, Claim 9 | []
(Proceed to °180 Patent, (Proceed to ’180 Patent,
Claim 13) Claim 13)
°180 Patent, Claim 13 Ni [|
Clana 9 and 19) (Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 18) Claim 18)
180 Patent, Claim 18 x [ ]
(dependent from Claim 15) (Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 1) Claim 1)
b) °583 Patent
Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)
?583 Patent, Claim 1 [| NC
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 3) Claim 3)
583 Patent, Claim 3 [ ] i]
(epente and) (Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 7) Claim 7)
°583 Patent, Claim 7 l | x
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 12) Claim 12)
°583 Patent, Claim 12 [| yd

 

 

 

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5. With respect to the Balanced Sizer, has Rasmussen proven by a preponderance of the
evidence that DePuy supplies or causes to be supplied in or from the United States any
component of a patented invention that is especially made or especially adapted for use in the
invention and not a staple article or commodity of commerce suitable for substantial
noninfringing use, where such component is uncombined in whole or in part, knowing that such
component is so made or adapted and intending that such component will be combined outside
of the United States in a manner that would infringe the patent if such combination occurred

within the United States?

Please check the boxes that reflect your verdict.
(“Yes” finds for Rasmussen, “No” finds for DePuy)

 

 

a) ?180 Patent
Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)
°180 Patent, Claim 6 M1 [|
(dependent from Claim 1) (Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 9) Claim 9)

 

°180 Patent, Claim 9

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(Proceed to ’180 Patent,

 

 

 

 

 

 

 

Claim 13) Claim 13)
ae Patent ¢ Claim 13 | [ |
(cepen 9 a d 12) (Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 18) Claim 18)
’180 Patent, Claim 18 NI] [|
(dependent from Claim 15) ; ;
(Proceed to ’583 Patent, (Proceed to °583 Patent,
Claim 1) Claim 1)
b) 7583 Patent
Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)

 

’583 Patent, Claim 1

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(Proceed to ’583 Patent,

i]

(Proceed to ’583 Patent,

 

Claim 3) Claim 3)

583 Patent, Claim 3 [| Xx

Cams tand >) (Proceed to ’583 Patent, (Proceed to °583 Patent,
Claim 7) Claim 7)

 

°583 Patent, Claim 7

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(Proceed to ’583 Patent,
Claim 12)

(Proceed to ’583 Patent,
Claim 12)

 

 

’583 Patent, Claim 12

 

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INFRINGEMENT - BALANCING BLOCKS

6. Has Rasmussen proven by a preponderance of the evidence that DePuy’s Balancing
Blocks directly infringed any of the following Patent Claims?

Please check the boxes that reflect your verdict.

(“Yes” finds for Rasmussen, “No” finds for DePuy)

 

 

 

°583 Patent
Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)
’583 Patent, Claim 1 [ ] MY
(Proceed to ’583 Patent, (Proceed to °583 Patent,
Claim 7) Claim 7)
’583 Patent, Claim 7 [ | X<

 

 

 

 

 

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7. With respect to the Balancing Blocks, has Rasmussen proven by a preponderance of the
evidence that DePuy contributed to the infringement by others of any of the following Patent
Claims?

Please check the boxes that reflect your verdict.

(“Yes” finds for Rasmussen, “No” finds for DePuy)

 

 

 

°583 Patent
Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)
°583 Patent, Claim 1 [] iM
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 7) Claim 7)
583 Patent, Claim 7 [] <I

 

 

 

 

 

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8. With respect to the Balancing Blocks, has Rasmussen proven by a preponderance of the
evidence that DePuy induced the infringement by others of any of the following Patent Claims?

Please check the boxes that reflect your verdict.

(“Yes” finds for Rasmussen, “No” finds for DePuy)

 

 

 

’583 Patent
Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)
°583 Patent, Claim 1 [J
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 7) Claim 7)
°583 Patent, Claim 7 [ ] x]

 

 

 

 

 

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9. With respect to the Balancing Blocks, has Rasmussen proven by a preponderance of the
evidence that DePuy supplies or causes to be supplied in or from the United States all or a
substantial portion of the components of a patented invention, where such components are
uncombined in whole or in part, in such manner as to actively induce the combination of such
components outside of the United States in a manner that would infringe the patent if such
combination occurred within the United States?

Please check the boxes that reflect your verdict.

(“Yes” finds for Rasmussen, “No” finds for DePuy)

°583 Patent

 

Patent Claims

Yes
(finding for Rasmussen) _

No
(finding for DePuy)

 

’583 Patent, Claim 1

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(Proceed to ’583 Patent,

(Proceed to ’583 Patent,

 

 

 

 

Claim 7) Claim 7)
°583 Patent, Claim 7 [7] x!

 

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10. With respect to the Balancing Blocks, has Rasmussen proven by a preponderance of the
evidence that DePuy supplies or causes to be supplied in or from the United States any component
of a patented invention that is especially made or especially adapted for use in the invention and
not a staple article or commodity of commerce suitable for substantial noninfringing use, where
such component is uncombined in whole or in part, knowing that such component is so made or
adapted and intending that such component will be combined outside of the United States in a
manner that would infringe the patent if such combination occurred within the United States?

Please check the boxes that reflect your verdict.
(“Yes” finds for Rasmussen, “No” finds for DePuy)

°583 Patent

 

 

 

Patent Claims Yes No
(finding for Rasmussen) (finding for DePuy)
°583 Patent, Claim 1 [| NC
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 7) Claim 7)
*583 Patent, Claim 7 [| [x]

 

 

 

 

 

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11. If you answered “Yes” with regard to any of the foregoing infringement questions 2-6
with regard to any of the claims of the ’180 Patent, has Rasmussen proven by a preponderance of
the evidence that DePuy’s infringement of the 180 Patent was willful?

Please check the box that reflects your verdict.
(“Yes” finds for Rasmussen, “No” finds for DePuy)

Yes No

Xx! L

12. If you answered “Yes” with regard to any of the foregoing infringement questions 2-11
with regard to any of the claims of the ’583 Patent, has Rasmussen proven by a preponderance of
the evidence that DePuy’s infringement of the ’583 Patent was willful?

Please check the box that reflects your verdict.
(“Yes” finds for Rasmussen, “No” finds for DePuy)

Yes No

O x

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INVALIDITY

13. | Has DePuy proven by clear and convincing evidence that any of the Asserted Patent
Claims are invalid as anticipated?

Please check the boxes that reflect your verdict.
(“Yes” finds for DePuy, “No” finds for Rasmussen)

a) 180 Patent

 

 

 

 

 

 

 

 

 

 

 

Patent Claims Yes No
(finding for DePuy) (finding for Rasmussen)
*180 Patent, Claim 18 [ ] Ms
(dependent from Claim 15) ; ;
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 1) Claim 1)
b) °583 Patent
Patent Claims Yes No
(finding for DePuy) (finding for Rasmussen)
°583 Patent, Claim 1 [ |
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 7) Claim 7)
’583 Patent, Claim 7 [| x1
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 12) Claim 12)
’583 Patent, Claim 12 [ ] |

 

 

 

 

 

Verdict form continues on the next page.

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14. Has DePuy proven by clear and convincing evidence that any of the Asserted Patent
Claims are invalid because they would have been obvious to one of ordinary skill in the art at the

time of invention?

Please check the boxes that reflect your verdict.

(“Yes” finds for DePuy, “No” finds for Rasmussen)

a) 7180 Patent

 

 

(dependent from Claim 1)

(Proceed to ’180 Patent,
Claim 9)

Patent Claims Yes No
(finding for DePuy) (finding for Rasmussen)
°180 Patent, Claim 6 [ ] [x]

(Proceed to ’180 Patent,
Claim 9)

 

’180 Patent, Claim 9

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(Proceed to ’180 Patent,

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‘ Claim 13) Claim 13)
180 Patent, Claim 13 [|
Clam 9 and 12) (Proceed to ’180 Patent, (Proceed to °180 Patent,
Claim 18) Claim 18)
180 Patent, Claim 18 [] ym
(dependent from Claim 15) (Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 1) Claim 1)
b) °583 Patent
Patent Claims Yes No
(finding for DePuy) (finding for Rasmussen)
583 Patent, Claim 1 i]

(Proceed to °583 Patent,

(Proceed to ’583 Patent,

 

 

 

 

 

 

Claim 3) Claim 3)
’583 Patent, Claim 3 [ ] —
(rpende and 2) (Proceed to °583 Patent, (Proceed to °583 Patent,
Claim 7) Claim 7)
583 Patent, Claim 7 [| SX]
(Proceed to °583 Patent, (Proceed to ’583 Patent,
Claim 12) Claim 12)
°583 Patent, Claim 12 [| Xx]

 

Verdict form continues on the next page.

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15. Has DePuy proven by clear and convincing evidence that any of the Asserted Patent
Claims are invalid because they are indefinite?

Please check the boxes that reflect your verdict.

(“Yes” finds for DePuy, “No” finds for Rasmussen)

 

 

 

 

 

 

 

 

 

 

 

 

 

a) 7180 Patent
Patent Claims Yes No
(finding for DePuy) (finding for Rasmussen)
°180 Patent, Claim 6 CJ NX
(dependent from Claim 1) 5 5
(Proceed to ’180 Patent, (Proceed to ’180 Patent, —
Claim 9) Claim 9)
180 Patent, Claim 9 [ ] XM
(Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 13) Claim 13)
’180 Patent, Claim 13 [|
Clams 9 and 12) (Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 18) Claim 18)
°180 Patent, Claim 18 [| NI
(dependent from Claim 15) (Proceed to ’583 Patent, (Proceed to °583 Patent,
Claim 1) Claim 1)
b) 583 Patent
Patent Claims Yes No
(finding for DePuy) (finding for Rasmussen)
’583 Patent, Claim 1 [ ] I
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 3) Claim 3)
”583 Patent, Claim 3 [ ] ~
(cepende and 2) (Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 7) Claim 7)
583 Patent, Claim 7 [] Sd
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 12) Claim 12)

 

°583 Patent, Claim 12

 

 

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16. | DePuy proven by clear and convincing evidence that any of the Asserted Patent Claims
are invalid for lack of written description?

Please check the boxes that reflect your verdict.

(“Yes” finds for DePuy, “No” finds for Rasmussen)

 

a) °180 Patent
Patent Claims Yes No
(finding for DePuy) (finding for Rasmussen)

 

°180 Patent, Claim 6
(dependent from Claim 1)

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(Proceed to ’180 Patent,
Claim 9)

(Proceed to ’180 Patent,
Claim 9)

 

180 Patent, Claim 9

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Claim 13) Claim 13)
°180 Patent, Claim 13 []
Claims 9 and 12) (Proceed to ’180 Patent, (Proceed to ’180 Patent,
Claim 18) Claim 18)
”180 Patent, Claim 18 [ ] N|
(dependent from Claim 15) (Proceed to °583 Patent, (Proceed to °583 Patent,
Claim 1) Claim 1)
b) °583 Patent
Patent Claims Yes No
(finding for DePuy) (finding for Rasmussen)

 

°583 Patent, Claim 1

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Claim 3) Claim 3)
°583 Patent, Claim 3 [| MI
{ceDende and?) (Proceed to 583 Patent, (Proceed to °583 Patent,
Claim 7) Claim 7)
’583 Patent, Claim 7 [| x
(Proceed to ’583 Patent, (Proceed to ’583 Patent,
Claim 12) Claim 12)
*583 Patent, Claim 12 1

 

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PATENT DAMAGES

If (i) you found infringement of either or both the ’180 Patent or the 583 Patent (i.e., if you
answered “Yes” to any of the foregoing infringement questions 2-11 for any Patent Claims
of either or both the ’180 Patent or the ’583 Patent), and (ii) you did not find that all of the
infringed claims have been proven invalid, then there is infringement of at least one valid
claim and you should answer the following question, question 18. Otherwise, do not answer
question 18.

17. What amount of damages has Rasmussen proven by a preponderance of the evidence
would be adequate compensation for DePuy’s infringement up to and including the date of this
verdict? Write out the amount in numbers and then in words.

$ HO, oo wil (numbers)
Swen Uy L! [Ly 0 r) (words)

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UNANIMOUS VERDICT
We, the jury, unanimously agree to the answers to the above questions and return them as

our verdict in this case.

Gui. L Otte Cnn 8 Fg, Xowarle

 

 

 

 

Foreperson Juror
D Awa Aromtt- Ran Bi
Juror Juror
Adam Dan
aT
Juror Juror

Jennifer Carrara

Juror ; Juror
nu hes

 

 

 

Juror Juror
Juror Juror

End of verdict form.

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